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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 STACIA HALL, et al.,

         Plaintiffs,

         v.                                                       No. 1:23-cv-01261-ABJ

 DISTRICT OF COLUMBIA BOARD OF
 ELECTIONS,

         Defendant.


                                 NOTICE OF CROSS-APPEAL

       Notice is hereby given that Defendant District of Columbia Board of Elections (the

District) cross-appeals to the United States Court of Appeals for the District of Columbia Circuit

from the final order and opinion entered in this action on March 20, 2024 [19 & 20] dismissing

Plaintiffs’ Complaint under Federal Rule of Civil Procedure 12(b)(1) for lack of subject-matter

jurisdiction. Plaintiffs filed a notice of appeal from that judgment on April 16 [21], which was

docketed in the Court of Appeals on April 18, see No. 24-7050 (D.C. Cir.), ECF No. 2050122.

Under Federal Rule of Appellate Procedure 4(a)(3), this notice of cross-appeal is timely filed

within 14 days of Plaintiffs’ filing their notice of appeal.

Date: April 29, 2024.                               Respectfully submitted,

                                                    BRIAN L. SCHWALB
                                                    Attorney General for the District of Columbia

                                                    STEPHANIE E. LITOS
                                                    Deputy Attorney General
                                                    Civil Litigation Division

                                                    /s/ Matthew R. Blecher
                                                    MATTHEW R. BLECHER [1012957]
                                                    Chief, Civil Litigation Division, Equity Section
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                                   /s/ Honey Morton
                                   HONEY MORTON [1019878]
                                   Assistant Chief, Equity Section

                                   /s/ Adam J. Tuetken
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